     Case 2:21-cv-02241-BWA-KWR Document 25 Filed 03/02/22 Page 1 of 25




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA
Pamala Thomas,                                        )
                                                      ) Case No.: 2:21-cv-02241-BWA-KWR
              Plaintiff,                              )
                                                      )
       vs.                                            )
                                                      )
                                                      )
Transunion, LLC,                                      )
                                                      )
Equifax Information Services, LLC,                    )
Experian Information Solutions, Inc.,                 )
Self Financial, Inc.                                  )
d/b/a Lead Bank,                                      )
Credit One Bank, N.A.,                                )

              Defendants.


          PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT
                TRANSUNION, LLC’S MOTION TO DISMISS




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     Case 2:21-cv-02241-BWA-KWR Document 25 Filed 03/02/22 Page 2 of 25




I.     INTRODUCTION

       Plaintiff brings this Complaint under the Fair Credit Reporting Act (“FCRA”), 15 U.S.C.

§ 1681 et seq., alleging that it is inaccurate and materially misleading to continue reporting her

Self Financial, Inc. d/b/a Lead Bank (“Self Financial”) account as 60 days past due when the

account had been fully paid off and closed. Numerous courts have upheld similar claims,

especially whereas here the account was paid and the debtor has no further liability to the

original creditor. Defendant argues that reading the report as a whole, and considering the

additional notations regarding the balance, closed and last updated on December 24, 2019, a

reasonable creditor would read this as historical information. This is plainly rebutted by the

account status section of the credit report. The payment history does a fine enough job on its

own of communicating historical delinquencies without the need for further clarifying

information from the account status section, which is clearly intended not as a supplement to the

payment history, but as an additional factor to consider in determining a debtor’s

creditworthiness, that is, the present status of the account.

       Moreover, the reality in the credit industry is an altogether different situation from what

Defendant envisages. The algorithms that calculate a consumer’s credit score do not engage in

the kind of reasonable weighing of different relevant factors to arrive at a conclusion about the

nature (i.e., current or historical) of the challenged line item. Those algorithms take it at face

value that the 60-day-past-due status reflects a current delinquency on the account and use that as

one factor in calculating the credit score. To claim that the account status section is merely

historical information under these circumstances simply ignores economic reality, and does

violence to the FCRA, which was intended as a vehicle to ensure the accuracy of information

communicated to potential creditors.

                                                  1
       Case 2:21-cv-02241-BWA-KWR Document 25 Filed 03/02/22 Page 3 of 25




II.     STATEMENT OF FACTS

         Defendant Transunion prepared and issued a credit report that contained inaccurate and

materially misleading information regarding Plaintiff’s account with Defendant Self Financial.

Dkt. # 1, ⁋ 18. The information was inaccurate because the “Pay Status” section indicates that

the Self Financial account is 60 days past due despite the fact that it had been closed with a $0

balance. Id. at ⁋⁋ 19, 20. Far from being viewed in a wholistic fashion by potential creditors, the

account status section is the subject of ministerial calculations by credit-scoring algorithms

which take it for granted that the account status reflects the current status of the account. Id. at ⁋

22. Incorporating other relevant factors in a tradeline, each representing a discrete piece of

information, the algorithms then generate a credit score based on that assumption. Id. Virtually

all lending decisions by creditors are based on these automatically generated scores. Id. at ⁋ 23.

        Plaintiff disputed Defendant’s inaccurate credit reporting by sending a dispute letter to

Defendant Transunion dated June 24, 2020. Dkt. # 1, ⁋ 26. It is believed that Defendant

Transunion notified Self Financial of the disputed inaccuracy. Id. at ⁋ 27. Self Financial failed

to conduct a reasonable investigation into Plaintiff’s dispute and continued reporting the

inaccurate, derogatory information. Id. at ⁋⁋ 28, 29.

        Transunion likewise failed to conduct a reasonable investigation into Plaintiff’s dispute.

Dkt. # 1, ⁋ 30. A reasonable investigation would have revealed to Transunion that it was

inaccurate and materially misleading to report two contradictory line items showing both a $0

balance and a payment status that is currently 60 days late. Id. at ⁋⁋ 19, 20, 32. Instead of

recognizing this inaccurate information, Transunion continued to publish it. Id. at ⁋ 34.

III.    STANDARD OF REVIEW




                                                  2
      Case 2:21-cv-02241-BWA-KWR Document 25 Filed 03/02/22 Page 4 of 25




        Dismissal under Rule 12(b)(6) is warranted if the “complaint does not contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Walker v.

Beaumont Indep. Sch. Dist., 938 F.3d 724, 734 (5th Cir. 2019)(quoting Ashcroft v. Iqbal, 556

U.S. 662, 678, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009)(quoting Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007))). This sets forth the plausibility

standard which requires “a court to infer more than the mere possibility of misconduct” in order

for a pleader to show that he is entitled to relief. Walker, 938 F.3d at 734 (quoting and citing

Iqbal, 556 U.S. at 678 (internal citations omitted)). “The plausibility standard is not akin to a

‘probability requirement,’ but it asks for more than a sheer possibility that a defendant has acted

unlawfully.” Walker, 938 F.3d at 735 (quoting Twombly, 550 U.S. at 555). From the well-

pleaded facts, the court must be able “to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” 938 F.3d at 735 (quoting 550 U.S. at 555). “[A] well-

pleaded complaint may proceed[, however,] even if it appears that a recovery is very remote and

unlikely.” 938 F.3d at 735 (quoting 550 U.S. at 556).

IV.     LEGAL ARGUMENT

     A. REPORTING A PAID-OFF DEBT AS 60-DAYS PAST DUE IS PATENTLY
INACCURATE AND MATERIALLY MISLEADING UNDER THE FCRA

        “Whenever a consumer reporting agency prepares a consumer report it shall follow

reasonable procedures to assure maximum possible accuracy of the information concerning the

individual about whom the report relates.” 15 U.S.C. § 1681e(b). And when a consumer disputes

“the completeness or accuracy of any item of information” in the credit report and notifies the

consumer reporting agency of such, “the agency shall, free of charge, conduct a reasonable

reinvestigation to determine whether the disputed information is inaccurate and record the

current status of the disputed information, or delete the item from the file.” Id. § 1681i(a)(1)(A).


                                                   3
     Case 2:21-cv-02241-BWA-KWR Document 25 Filed 03/02/22 Page 5 of 25




       There are several elements under § 1681e(b) and § 1681i(a)(1)(A). See Potter v.

Greensky, LLC, No. 5:19-cv-00581-JKP, 2019 U.S. Dist. LEXIS 180517, *4-5 (W.D. Tex. Oct.

18, 2019). Plaintiff brings her claims against Transunion under both sections. See Dkt. # 1, ⁋⁋

53, 60. The unifying aspect of both claims is the plaintiff’s burden of proving an inaccuracy in

her credit report. Hurst v. Equifax Info. Servs., LLC, No. SA-20-CV-1366-JKP-ESC, 2021 U.S.

Dist. LEXIS 239227, at *12 (W.D. Tex. Dec. 15, 2021)(citation omitted). “A credit entry may

be ‘inaccurate’ within the meaning of the statute either because it is patently incorrect, or

because it is misleading in such a way and to such an extent that it can be expected to adversely

affect credit decisions.” Sepulvado v. CSC Credit Servs., Inc., 158 F.3d 890, 895 (5th Cir. 1998).

       Transunion takes issue with the accuracy requirement and cites to an out-of-Circuit case,

Erickson v. First Advantage Background Servs. Corp., 981 F.3d 1246 (11th Cir. 2020), which

recently adopted the materially misleading standard under the FCRA. See Erickson, 981 F.3d at

1251-52. While it is true that the Eleventh Circuit cautioned that “the fact that some user

somewhere could possibly squint at a report and imagine a reason to think twice about its subject

would not render the report objectively misleading[,]” 981 F.3d at 1252, this was only a gloss on

the materially misleading standard that continued a line of caselaw in the Eleventh Circuit

demonstrating a commitment to “interpret[ing] [credit reports] in an evenhanded manner toward

the interests of both consumers and potential creditors in fair and accurate credit reporting.” See

Id. at 1252 (explaining that in Cahlin v. Gen. Motors Acceptance Corp., 936 F.2d 1151 (11th Cir.

1991), “any ‘maximum possible accuracy’ standard must be applied objectively.”)(citing Cahlin,

936 F.2d at 1158). And while the Erickson court was certainly right to suggest that the issue of

accuracy is an objective measure that must consider both sides to arrive at a determination of

whether a credit report is accurate, that does not undo the reasonable inferences that must be



                                                  4
     Case 2:21-cv-02241-BWA-KWR Document 25 Filed 03/02/22 Page 6 of 25




drawn in favor of Plaintiff on a motion to dismiss under the federal rules. As will be seen below,

many courts have upheld nearly identical claims due to the procedural posture of the case, where

expert determinations cannot be made on a credit report’s meaning without additional discovery.

       In Barrow v. Trans Union, LLC, No. 20-CV-3628, 2021 U.S. Dist. LEXIS 72503 (E.D.

Pa. Apr. 9, 2021), for example, the court upheld a similar claim on a motion to dismiss alleging

that it was materially misleading to continue reporting an account as “120 days past due” in the

pay status section when the account had been closed and zeroed out due to a refinance on the

loan. See Barrow, No. 20-CV-3628, 2021 U.S. Dist. LEXIS 72503 at *2-3. The court’s

reasoning is particularly relevant here:

       Reading the report as a whole, we can conceive of several different, plausible
       meanings which may be ascribed to these remarks from the perspectives of a
       typical, reasonable reader and a typical, reasonable creditor. However, speculation
       is not our function to perform in ruling on a Rule 12(c) motion. Rather, we are to
       consider the pleadings together with those documents “that are attached to or
       submitted with the complaint, and any matters incorporated by reference or
       integral to the claim, items appearing in the record of the case, and any
       “undisputedly authentic documents attached to the motion,” accept all factual
       averments as true and draw all reasonable inferences in favor of the non-moving
       party. Judgment should not be granted under Rule 12(c) “unless the movant
       clearly establishes that no material issue of fact remains to be resolved and that he
       is entitled to judgment as a matter of law.”

Barrow, No. 20-CV-3628, 2021 U.S. Dist. LEXIS 72503 at *14 (emphasis added)(citations

omitted). The court considered an abundance of different line items on the credit report, many of

which are not even available here, and yet denied the defendant’s motion (the same Defendant

here, Transunion), on the basis that multiple competing inferences could be drawn from the

credit report and therefore the question of accuracy was best left to a jury. See Barrow, No. 20-

CV-3628, 2021 U.S. Dist. LEXIS 72503 at *13-14.

       A similar claim was upheld in Smith v. Trans Union, LLC, No. 20-4903, 2021 U.S. Dist.

LEXIS 51937 (E.D. Pa. Mar. 19, 2021). Trans Union argued that the account status was merely


                                                5
     Case 2:21-cv-02241-BWA-KWR Document 25 Filed 03/02/22 Page 7 of 25




historical in light of the additional notation that the account had not been updated since 2016.

See Smith, No. 20-4903, 2021 U.S. Dist. LEXIS 51937 at *6-7. The court rejected that

argument, reasoning:

       This case presents a different situation. Here, the debt was paid in full to the
       penny at the time it was closed, and yet the “Pay Status: Account 60 Days Past
       Due” notation would lead one to believe the account was past due and continued
       to be past due, or not fully paid, when the balance was zeroed out when it was
       closed. This is clearly a black mark on the credit report of an individual seeking
       credit. At the time of the closing, the debt was fully paid and the account made
       current. Defendant’s cases actually prove Plaintiff’s point—the phrase “60 Days
       Past Due” could mislead a creditor to believe the account was never paid off
       because that is what the plaintiffs’ credit reports said in Defendant’s cited cases,
       and indeed the account balances had never been paid in full.

Id. at *9-10 (distinguishing Settles v. Trans Union, LLC, No. 3:20-cv-00084, 2020 U.S. Dist.

LEXIS 220341 (M.D. Tenn. Nov. 24, 2020); Hernandez v. Trans Union LLC, No. 3:19cv1987-

RV/EMT, 2020 U.S. Dist. LEXIS 249358 (N.D. Fla. Dec. 10, 2020)).

       Moreover, the court provided singular insight into plaintiff’s claim as follows:

       It is also not indisputably accurate to say that the notation is a remark on the
       historical pay status of the account. An historical remark would say something to
       the effect that “at one time in the past the account was past due,” or “paid in full
       at end when account was 60 days past due,” rather than indicating, as it does in
       this case, “Pay Status: 60 Days Past Due.” What Plaintiff has shown on his
       current credit report certainly appears to be a current status, and not an historical
       remark.

Smith, No. 20-4903, 2021 U.S. Dist. LEXIS 51937 at *9-10.

       Mund v. Transunion, No. 18-cv-6761(BMC), 2019 U.S. Dist. LEXIS 31289 (E.D.N.Y.

Feb. 27, 2019) upheld a similar claim. Mund, No. 18-cv-6761(BMC), 2019 U.S. Dist. LEXIS

31289 at *6-7. The plaintiff argued that it was materially misleading to continue reporting a

“pay status” of “120 days past due” on an account that had been closed and transferred to another

lender with a $0 balance. No. 18-cv-6761(BMC), 2019 U.S. Dist. LEXIS 31289 at *6-7. The

court accepted these arguments and noted that the defendant’s explanation of all the line items


                                                 6
      Case 2:21-cv-02241-BWA-KWR Document 25 Filed 03/02/22 Page 8 of 25




(i.e. a closed and transferred account, $0 balance, and “pay status” of “120 days past due”), while

potentially true as a technical matter, did not erase the misleading impression that the credit

report gave to creditors. Id. at *7. (“[The plaintiff’s] point is that, even if this information is

factually or technically accurate, the way in which that information appears on the credit report is

misleading in a material way to potential lenders. This is enough to withstand defendant’s

motion to dismiss.”)(citing Hillis v. Trans Union, LLC, 969 F. Supp. 2d 419, 421 (E.D. Pa.

2013)(“If [p]laintiff can prove that [defendant’s] reporting was misleading enough to cause him

harm, he may have an actionable claim under the FCRA. At this early stage in the litigation, this

Court is not prepared to rule, as a matter of law, that he does not.”)(internal quotations omitted)).

        Friedman v. Citimortgage, Inc., No. 18 CV 11173 (VB), 2019 U.S. Dist. LEXIS 149706

(S.D.N.Y. Sep. 3, 2019), another similar claim, came to the same conclusion. The court held that

the

        plaintiff sufficiently alleges the trade line on his credit report is misleading in a
        way that could adversely affect lenders’ credit decisions. According to plaintiff,
        because CitiMortgage continues to report that plaintiff owes a balance—even if
        that balance is $0—and reports that balance as 120 days late, lenders believe
        plaintiff is currently delinquent, negatively affecting potential lenders’ perception
        of plaintiff's creditworthiness.

Friedman, No. 18 CV 11173 (VB), 2019 U.S. Dist. LEXIS 149706 at *8.

        These cases do not stand in isolation either. Building on Mund and Friedman, Huggins v.

FedLoan Servicing, Civil Action No. 19-21731 (ES) (CLW), 2020 U.S. Dist. LEXIS 229290

(D.N.J. Dec. 2, 2020) found that a credit report that “had a $0 balance and a pay status of 120

days delinquent … paints a materially misleading picture of Huggins’s pay status in that it may

lead potential lenders to believe Huggins is currently late on his payments.” Huggins, Civil

Action No. 19-21731 (ES) (CLW), 2020 U.S. Dist. LEXIS 229290 at *16. Like Smith, the court

distinguished Settles, No. 3:20-cv-00084, 2020 U.S. Dist. LEXIS 220341 at *10 (finding


                                                   7
     Case 2:21-cv-02241-BWA-KWR Document 25 Filed 03/02/22 Page 9 of 25




persuasive the fact that “Plaintiff admits that never brought the account current — instead, he

defaulted, and the account was closed while it was more than 120 days past due.”) by noting that

“…Huggins’s loan was transferred to another lender, and he contends that he did bring it current

by transferring it to reflect a balance of $0.” See Huggins, Civil Action No. 19-21731 (ES)

(CLW), 2020 U.S. Dist. LEXIS 229290 at *18 (citing and quoting Settles, No. 3:20-cv-00084,

2020 U.S. Dist. LEXIS 220341 at *10)(internal quotations omitted)(emphasis in original). In

other words, Huggins was challenging the basic notion that the historical information argument

carried any weight at all in light of the current status of the account at the time of transfer. Even

accepting arguendo that the account status notation represents the transfer of the account as

historical fact, it actually had been current when the account was transferred. Huggins, Civil

Action No. 19-21731 (ES) (CLW), 2020 U.S. Dist. LEXIS 229290 at *18.

       Other courts have ruled in similar fashion. 1 Finally, a case in the Eleventh Circuit ruled

in favor of the plaintiff on an identical claim on a motion to dismiss. See Drexler v. Trans

Union, LLC, No. 8:20-cv-2366-30JSS, 2020 U.S. Dist. LEXIS 248631, at *4 (M.D. Fla. Dec. 15,

2020). The defendant Trans Union argued, as it does here, that the pay status section merely

represented historical information when considered in the overall context of the credit report, a



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  See Soler v. Trans Union, LLC, No. CV 20-8459 DSF (PLAx), 2020 U.S. Dist. LEXIS 232987,
at *5-7 (C.D. Cal. Dec. 1, 2020)(holding that it was inaccurate to report “pay status” as “120
days past due” on an account that had been fully satisfied with a $0 balance, and rejecting Trans
Union’s argument that the 120 day delinquency was merely historical information for a discrete
time period when considered in the overall context of the account being closed with a $0
balance, noting, “Without Trans Union’s annotation, explanation, and supplemental
documentation, a jury could find that the Credit Report on its face is misleading in such a way
that it adversely affects [the plaintiff’s] credit.”); see also Macik v. JPMorgan Chase Bank, N.A.,
No. G-14-044, 2015 U.S. Dist. LEXIS 185257, at *7-8 (S.D. Tex. May 28, 2015)(while noting
that the “[plaintiff] has acknowledged that the information concerning the 90 days past due status
on her mortgage with Chase was correct in 2009,” finding that “the cornerstone of her claim is
that, given the manner in which Chase has presumably coded her prior account, the information
is inaccurately being reported as a ‘current’ delinquency in 2013.”)(emphasis in original).
                                                  8
    Case 2:21-cv-02241-BWA-KWR Document 25 Filed 03/02/22 Page 10 of 25




portion of which it attached to the record. Drexler, No. 8:20-cv-2366-30JSS, 2020 U.S. Dist.

LEXIS 248631, at *4. Even considering that additional information, however, the court still

deferred the ultimate question of accuracy to the summary judgment stage when a fuller record

had been developed before it. See No. 8:20-cv-2366-30JSS, 2020 U.S. Dist. LEXIS 248631, at

*4. (“The Amended Complaint’s factual allegations must be taken as true and Plaintiff is

entitled to the benefit of every favorable inference, including the inference that the payment

status field represents current, as opposed to historical account information.”).

       Here, there is no question what “Account Status” means in the context of a credit card

account. “Status” is the current status of the account. 2 As Smith made explicit, it is “not




2
  Some courts have concluded that interpreting the account status field to mean “current status”
would mean reading non-existent present tense language into the phrase “account status.” See
e.g. Bibbs v. Trans Union LLC, 521 F. Supp. 3d 569, 580 (E.D. Pa. 2021)(“Ms. Bibbs is
essentially asking us to read in non-existing present tense language into the ‘Pay Status’
field…”). Such a position is starkly at odds with the consensus of the English-speaking world, as
exemplified by academics, linguists and grammarians, who have all generally recognized the
tautology of the phrase “current status.” In a style guide to students, for example, The
University of Sheffield points out,

         Redundant Modifiers
         A redundant modifier uses an adjective or adverb that simply restates the word it
modifies. e.g., true facts, important essentials, final outcome, end result, terrible tragedy.
Remove the first word.
         …
         Current Status
         …
Student Services Information Desk, The University of Sheffield,
https://www.sheffield.ac.uk/polopoly_fs/1.481754!/file/List-of-Redundant-Modifiers.pdf, last
visited January 17, 2022 (emphasis in bold italics added).
         The same is true in business writing, which famously employs a no-nonsense,
straightforward writing style. See https://ontariotraining.net/writing-style-redundant-phrases/,
last visited January 17, 2022 (“However, when writing in the business world I believe current
status is redundant. If I give you the status of a project, it is what is true now. Adding the
additional word ‘current’ does not change or add to the message.”)(emphasis added).
         Therefore, Bibbs’ conclusion that some additional clarifying language is needed to make
plain what the English language easily conveys on its own is a curious position to take,
                                                 9
       Case 2:21-cv-02241-BWA-KWR Document 25 Filed 03/02/22 Page 11 of 25




indisputably accurate to say that the notation is a remark on the historical pay status of the

account. No. 20-4903, 2021 U.S. Dist. LEXIS 51937 at *10. “What Plaintiff has shown on his

current credit report certainly appears to be a current status, and not an historical remark.” Id. at

*10.

         This conclusion is bolstered by recent caselaw interpreting the most recent amendments

to the FCRA under the CARES Act, which requires furnishers to report an account as current if

the consumer enters into an agreement to defer one or more payments due to financial hardship

because of the COVID-19 pandemic. See 15 U.S.C. § 1681s-2(a)(1)(F)(ii). In rejecting a similar

claim where the plaintiff had argued that the CARES Act amendments required furnishers to

erase all mention of a delinquency during the covered period of the forbearance, the court in

Mitchell v. Specialized Loan Servicing LLC, No. 2:20-cv-10455-SB-PD, 2021 U.S. Dist. LEXIS

246880 (C.D. Cal. Dec. 27, 2021) distinguished between the payment history section, which

contained historical information where it was appropriate to list the delinquent status of the

account prior to the forbearance, and the tradeline’s account status, which was appropriately

updated to “current” under § 1681s-2(a)(1)(F)(ii) when the forbearance started. Mitchell, No.

2:20-cv-10455-SB-PD, 2021 U.S. Dist. LEXIS 246880 at *9 (after noting that the § 1681s-

2(a)(1)(F)(ii) makes no mention of the payment history profile, finding that the defendant

complied with that provision by “reporting the account status of Plaintiff's loan as

‘current.’”)(emphasis added).

         Contrary to Defendants’ arguments, Plaintiff’s claim is further bolstered by Cahlin. That

case involved a plaintiff’s challenge to the way a charge off was being reported on his GMAC




especially when academics and business writers have understood the plain meaning of the term
“status.”
                                                 10
    Case 2:21-cv-02241-BWA-KWR Document 25 Filed 03/02/22 Page 12 of 25




account. See Cahlin, 936 F.2d at 1155. When GMAC initially charged off the debt, it reported

the account as an “I-9” status, or charge off. 936 F.2d at 1155. Dissatisfied with this reporting,

the plaintiff wrote a letter requesting that the status be reported as an “I-1.” Id. at 1155. GMAC

complied, albeit only slightly. Id. at 1155. It changed the status of the account to an “I-1” as

requested, but moved the “I-9” notation to the payment history section, thus signifying that the

account had been a charge off at some previous point in time. Id. When GMAC later disclaimed

this move in a deposition, testifying that it had been its intent to wipe the tradeline completely

clean of any mention of the charge off in compliance with the plaintiff’s request, the court

disagreed. Id. at 1159.

       Viewed in the light most favorable to Cahlin, the facts show that GMAC in June,
       1986 believed that the Cahlin account was accurately reported as being a bad debt
       with a zero balance, but agreed in October, 1986 to inform CBI to change the
       reporting of the account under the threat of litigation. This change of heart,
       however, does not erase the historical fact that until at least June, 1986, GMAC
       was reporting to CBI that the Cahlin account was a bad debt. It was this
       information that was conveyed by CBI’s report when it moved the “I9” rating to
       the previous history section of Cahlin’s account. Thus, the notation was an
       “accurate” reflection of how GMAC had been reporting this account to CBI in the
       past. Nothing contained in GMAC’s terse letter of October 9 instructs CBI to
       eradicate GMAC’s own past characterizations of the account from future credit
       reports.

Id. at 1159-60. In other words, the Cahlin court specifically rejected the notion that all mention

of the charge off should disappear entirely from the report, and agreed with the initial, albeit

accidental, impulse of the defendant to move the “I-9” (i.e. charge off notation) to the payment

history section, while retaining the current status as “I-1,” reflecting that the debt had

subsequently been paid off. Id.

       Given the actual facts of this case, Defendant’s reliance on Cahlin is odd to the say the

least. Cahlin stands for the proposition that past derogatory information should remain on the

credit report, but only with reference to the payment history section. 936 F.2d at 1159-60. The


                                                  11
    Case 2:21-cv-02241-BWA-KWR Document 25 Filed 03/02/22 Page 13 of 25




larger rhetoric of that case is firmly limited to its factual context. For example, the statement

routinely cited by the courts that, “[a]lthough a credit reporting agency has a duty to make a

reasonable effort to report ‘accurate’ information on a consumer’s credit history, it has no duty to

report only that information which is favorable or beneficial to the consumer[,]” see Cahlin, 936

F.2d at 1158, makes sense in the limited context of the payment history, which adequately

conveys the past due history of the account without the need for supplemental information. It

makes no sense at all, however, in the context of the account status section, which reflects the

current status of the account. Cahlin intuitively understood this, and its assumption along those

lines forms the entire basis for Cahlin’s disagreement with GMAC’s later retrenchment. See 936

F.2d at 1159-60. In the face of Cahlin and Mitchell, Defendant’s position is untenable.

        Defendant nevertheless argues that a reasonable creditor would not be misled into

thinking that the Self Financial account is currently delinquent because of additional notations in

the credit report regarding the $0 balance, the date the account was last updated and closed on

December 24, 2019, the fact that the account was closed, and the two prior monthly

delinquencies of 30 and 60 days, respectively, in the months leading up to closure of the account.

See Dkt. # 24, at 6. At bottom, the question comes down to how a credit reporting agency

continues to characterize an account that has been fully satisfied in the same month that it was

reported delinquent. See Dkt. # 24-1, at 9 (showing date closed and last payment made on

December 24, 2019, a $0 balance and a 60-day delinquency in December 2019, a maximum

delinquency in December 2019, and 60 days past due in the account status section). The basic

contention here is that the account status is a separate, discrete line item in the credit report that

carries with it an independent duty to communicate concrete information about the nature of the

account or tradeline, and no amount of intellectual jockeying, interpretation, or willful reading



                                                  12
     Case 2:21-cv-02241-BWA-KWR Document 25 Filed 03/02/22 Page 14 of 25




into the other aspects of the credit report will change that fact, as alleged. The cases cited by

Defendant essentially boil the credit report into one piece of information, and ask the question of

whether that single piece of information adequately conveys the posture of the account. But that

is the wrong question to ask. As Cahlin, Smith and others recognize, the account status is

responsible for conveying discrete information about the current status of the account,

irrespective of and in addition to the payment history section, which is an entirely different

section. Since the account status is so blatantly contrary to the status of the account as paid off –

i.e., it is literally impossible for an account to be 60 days past due in the same month that it was

fully satisfied – the report is technically inaccurate and materially misleading on the critical point

of satisfaction of the debt.

        Erickson and others, while perhaps guided by good intentions in balancing the interests of

both creditor and debtor in determining whether a report is accurate, would subvert the

“maximum possible accuracy” standard that applies to credit bureaus and essentially enslave it to

the dictates of the credit reporting industry. Far from balancing the interests of both debtor and

creditor, it takes the basic protections of the FCRA and subordinates them to the creditor. Many

of the cases Defendant relies on have the effect of subordinating the Rule 12(b)(6) standard

where all reasonable inferences are to be drawn in Plaintiff’s favor, adopting a de facto reading

of the credit report that is advanced by the defendant credit bureau or furnisher, and taking those

inferences as true on the dispositive motion. See O’Neal v. Equifax Info. Servs., No. 21-CV-

80968-RAR, 2021 U.S. Dist. LEXIS 206883, at *6 (S.D. Fla. Oct. 27, 2021)(reading an account

that “(1) has a balance of $0; (2) was last updated on July 30, 2018; (3) was closed on July 30,

2018; (4) was 120 days past due in June and July 2018, prior to its closure on July 30, 2018; and

(5) is closed[]” as meaning that the 120-day payment delinquency in the account status section is



                                                 13
    Case 2:21-cv-02241-BWA-KWR Document 25 Filed 03/02/22 Page 15 of 25




merely historical information); see also Brown v. Trans Union, LLC, No. 8:21-cv-2371-VMC-

JSS, 2022 U.S. Dist. LEXIS 20771, at *8-11 (M.D. Fla. Feb. 4, 2022)(coming to the same

conclusion based on largely identical reasoning)(citing cases for same); Cf. Drexler, No. 8:20-

cv-2366-30JSS, 2020 U.S. Dist. LEXIS 248631, at *4 (“The Amended Complaint’s factual

allegations must be taken as true and Plaintiff is entitled to the benefit of every favorable

inference, including the inference that the payment status field represents current, as opposed to

historical account information.”); cf. Barrow, No. 20-CV-3628, 2021 U.S. Dist. LEXIS 72503 at

*14 (Reading the report as a whole, we can conceive of several different, plausible meanings

which may be ascribed to these remarks from the perspectives of a typical, reasonable reader and

a typical, reasonable creditor. However, speculation is not our function to perform in ruling on a

Rule 12(c) motion.”). This Court should not fall prey to the temptation to do away with a case

under the guise of well-packaged argument, neatly tied in a bow, when the reality is messier and

belies the arguments made therein.

     B. ALGORITHMS THAT CALCULATE CREDIT SCORES INTERPRET THE
“PAY STATUS” SECTION AS A CURRENT DELINQUENCY, NEGATIVELY
IMPACTING CREDIT SCORES

       Credit-scoring algorithms are directed to interpret the account status section as the current

status of the account, regardless of additional notations on the tradeline. Contrary to the

assumptions that were made in Erickson, human beings are not the ones responsible for making

reasonable assumptions about the nature of certain line items in a tradeline and then draw

conclusions about the tradeline as a whole. See Erickson, 981 F.3d at 1253 (“A reasonable user

would not take adverse action against Erickson based on this report because the only reasonable

understanding of it was that someone with Erickson’s name was a registered sex offender in

Pennsylvania—not that Erickson himself was that person.”). This is an unavoidable reality of

the credit reporting industry, which relies on these algorithms to generate credit scores, which are

                                                 14
    Case 2:21-cv-02241-BWA-KWR Document 25 Filed 03/02/22 Page 16 of 25




in turn used for making credit decisions. The reporting of a delinquency in the account status

section is therefore not only harmful derogatory information, but represents a de facto

inaccuracy.

       Cases involving deviation from the Metro 2 Guidelines where the industry standard is to

follow those guidelines to a tee, regardless of any additional notation in the report, are

instructive. In Cristobal v. Equifax, Inc., No. 16-cv-06329-JST, 2017 U.S. Dist. LEXIS 63571

(N.D. Cal. Apr. 26, 2017), the court noted

       Under Cristobal’s theory, her credit report deviated from Metro 2 because the CII
       field was left blank when it should have been filled with code “D.” ECF No. 1 ¶¶
       84, 137. That deviation “will prompt those making credit decisions to draw a
       more negative inference regarding [her] creditworthiness,” id. ¶¶ 64-66, and could
       lower her credit score because FICO’s “algorithms” are premised on compliant
       Metro 2 data, id. ¶¶ 47-49. In a world of big data, it is plausible that an
       algorithm designed to calculate Cristobal’s FICO score based on the Metro 2
       codes might not generate the same score just because the word “bankruptcy”
       appears elsewhere on the report.

Cristobal, No. 16-cv-06329-JST, 2017 U.S. Dist. LEXIS 63571 at *13-*14 (emphasis added).

       The court in Conrad v. Experian Info. Sols., Inc., No. 16-cv-04660 NC, 2017 U.S. Dist.

LEXIS 68641 (N.D. Cal. May 4, 2017) likewise found a violation of the FRCA where the

furnisher had refused to supply the code “D” in a pending bankruptcy petition, even considering

the possibility that the bankruptcy had been noted elsewhere in the credit report. See Conrad,

No. 16-cv-04660 NC, 2017 U.S. Dist. LEXIS 68641 at *16-*17. Following the lead of

Cristobal, the court noted in particular,

       Even if the bankruptcy was mentioned elsewhere in the credit report, the Court
       does not know whether those people making credit decisions about Conrad were
       aware of his bankruptcy. The people making such decisions about Conrad may
       not have known of the bankruptcy because of the use of algorithms in
       calculating a consumer’s credit score. Dkt. No. 15 at 6 (“When FICO calculates
       credit scores the algorithms use Metro 2 information based on industry
       standards”). Thus, “[i]n a world of big data, it is plausible that an algorithm
       designed to calculate [plaintiff's] FICO score based on the Metro 2 codes might
       not generate the same score just because the word 'bankruptcy' appears elsewhere

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    Case 2:21-cv-02241-BWA-KWR Document 25 Filed 03/02/22 Page 17 of 25




       on the report.” Cristobal v. Equifax, Inc., No. 16-cv-06329 JST, 2017 U.S. Dist.
       LEXIS 63571, 2017 WL 1489274, at *5 (N.D. Cal. Apr. 26, 2017). It is therefore
       plausible that the failure to comply with industry standards was “misleading in
       such a way and to such an extent that it [could] be expected to adversely affect
       credit decisions.” Carvalho, 629 F.3d at 890.

Conrad, No. 16-cv-04660 NC, 2017 U.S. Dist. LEXIS 68641 at *17 (emphasis added).

       These cases illustrate the modern reality that A.I. will often dictate, as it does here, the

outcomes of credit decisions based on a reporting regime that freely uses an automated process

through algorithms. These algorithms are blind to the kind of reasonable impressions the

Erickson court assumed that potential creditors, acting as human beings, would draw from credit

reports. Indeed, Erickson never addressed this reality, and so its concerns about the conclusions

to be drawn from a credit report by potential creditors reviewing them are of no use here.

       The reasoning of two other cases rejecting similar claims outside this jurisdiction, O’Neal

v. Equifax Info. Servs., No. 21-CV-80968-RAR, 2021 U.S. Dist. LEXIS 206883 (S.D. Fla. Oct.

27, 2021) and Pineda v. Trans Union, LLC, No. 2:21-cv-653-SPC-MRM, 2021 U.S. Dist. LEXIS

233631 (M.D. Fla. Dec. 6, 2021), is unpersuasive. O’Neal’s chief concern was that the plaintiffs

were simply ignoring the relevant standard under Erickson, which directs courts to view credit

reports objectively. See No. 21-CV-80968-RAR, 2021 U.S. Dist. LEXIS 206883 at *8. But

Erickson’s standard was developed with a healthy set of assumptions in mind, specifically that a

creditor would take the time to pore over the details of a credit report and make determinations

of creditworthiness based on a holistic assessment of the report. See Erickson, 981 F.3d at 1253

(“Little League knew that it would get what it asked for here—a search based only on first and

last name. And it also knew that it could not attribute any of those matched records to an

applicant without conducting further research first.”).

       Given the reality that the Account Status section is inaccurately viewed as a current status

of the account by credit scoring algorithms regardless of additional tradelines which might

                                                 16
    Case 2:21-cv-02241-BWA-KWR Document 25 Filed 03/02/22 Page 18 of 25




indicate otherwise, see Conrad, No. 16-cv-04660 NC, 2017 U.S. Dist. LEXIS 68641 at *16-*17

(“Even if the bankruptcy was mentioned elsewhere in the credit report, the Court does not know

whether those people making credit decisions about Conrad were aware of his bankruptcy.”), it

behooves this Court to consider the very real fact that those algorithms operate in such a way as

to defy Erickson’s guidance. The law must keep pace with the times and not be made prisoner to

antiquated notions of the past, else it becomes a relic. 3

        O’Neal expressed the further concern that “[h]ow third-party companies choose to utilize

algorithms to decipher the accurate information reported by Defendant has no bearing on the

accuracy of the report itself.” See No. 21-CV-80968-RAR, 2021 U.S. Dist. LEXIS 206883 at *8.

However, as the Eleventh Circuit recognized in Erickson, standing in the shoes of the reasonable

creditor, as credit scoring algorithms do in this case, is itself a basis for finding inaccuracies in a

credit report when judged from the perspective of that user. See Erickson, 981 F.3d at 1253 (“A

reasonable user of the report standing in the shoes of Little League…”). Under Erickson’s

guidance, one is simply substituted for another. In this view, Plaintiff’s algorithm theory

reaffirms that some third-party entity necessarily interacts with the credit report, the inevitable

implications of the Erickson standard. See 981 F.3d at 1253. Here, just as the reasonable user

was imagined to be stepping in the shoes of the actual user in the Erickson case, so too do the

credit scoring algorithms stand in the shoes of potential creditors reviewing the BOA tradeline,



3
  See e.g. City of Monterey v. Del Monte Dunes, 526 U.S. 687, 119 S. Ct. 1624, 728
(1999)(Scalia, A., concurring)(noting that “the attributes of § 1983 could change to keep up with
modern developments in the law of torts: ‘Doctrines of tort law have changed significantly over
the past century, and our notions of governmental responsibility should properly reflect that
evolution.’”)(citations omitted)(emphasis added); see also Malone v. United States , 791 F.
App’x 543, 546 (6th Cir. 2019)(“[G]eneric burglary includes common law burglary—‘breaking
and entering a dwelling at night with intent to commit a felony’—but, it also ‘must include more’
than the common law definition to be relevant to ‘modern law enforcement concerns.’”)(quoting
United States v. Stitt, 139 S. Ct. 399, 405 (2018))(emphasis added).
                                                  17
    Case 2:21-cv-02241-BWA-KWR Document 25 Filed 03/02/22 Page 19 of 25




thus supplanting that reasonable user and making an entirely unreasonable assertion about the

overall account, one that suggests that the debt was never ultimately satisfied. This is what the

credit report suggests, and how the credit scoring algorithms indeed interpret the account.

Erickson’s standard is thus unavailing in this context.

       Moreover, the notion that Congress should be the only one to update statutes that are

waning in relevance compared to the latest technological developments happening in the world,

see Pineda, No. 2:21-cv-653-SPC-MRM, 2021 U.S. Dist. LEXIS 233631 at *8, has been rejected

in other legislative contexts. Under the Americans with Disabilities Act (“ADA”), for example,

courts have expanded the ADA’s reach to cover websites without any connection to a physical

retail location. 4 Indeed, cases have consistently recognized the revolutionary changes that have

been handed down to our society in a relatively short period of time, and the impact that has had

on judicial decision-making. 5




4
  See Markett v. Five Guys Enters. LLC, No. 17-cv-788 (KBF), 2017 U.S. Dist. LEXIS 115212,
at *4-5 (S.D.N.Y. July 21, 2017)(“[T]he text and purposes of the ADA, as well as the breadth of
federal appellate decisions, suggest that defendant’s website is covered under the ADA, either as
its own place of public accommodation or as a result of its close relationship as a service of
defendant’s restaurants, which indisputably are public accommodations under the statute.”); see
also Del-Orden v. Bonobos, Inc., 2017 U.S. Dist. LEXIS 209251, at *32 (S.D.N.Y. Dec. 20,
2017)(holding that “the ADA extends to Bonobos’ website … because the ADA … applies to
private commercial websites as places of ‘public accommodation’”); see also Harty v. Nyack
Motor Hotel, Inc., No. 19-CV-1322 (KMK), 2020 U.S. Dist. LEXIS 40429, at *9-10 (S.D.N.Y.
Mar. 9, 2020)(collecting cases).
5
  See United States v. Peterson, 248 F.3d 79, 83 (2d Cir. 2001)(in applying the ADA to the
internet, the court remarking, “Computers and Internet access have become virtually
indispensable in the modern world of communications and information gathering.”); see also
Del-Orden v. Bonobos, Inc., 2017 U.S. Dist. LEXIS 209251, at *24 (S.D.N.Y. Dec. 20, 2017)(in
applying same, remarking, “Today, few areas are more integral to ‘the economic and social
mainstream of American life,’ than the Internet’s websites.”)(citation omitted); see also
Packingham v. North Carolina, 137 S. Ct. 1730, 1735, 198 L. Ed. 2d 273 (2017)(quoting Reno v.
Am. Civil Liberties Union, 521 U.S. 844, 868, 117 S. Ct. 2329, 138 L. Ed. 2d 874 (1997))(in
holding that the First Amendment’s free speech protections applied to an internet venue, the
Court noting, “While in the past there may have been difficulty in identifying the most important
                                                18
    Case 2:21-cv-02241-BWA-KWR Document 25 Filed 03/02/22 Page 20 of 25




       These cases establish a clear proposition that allows courts and the caselaw to evolve

their understanding of the law as the world around them changes. Courts are not bound by

narrow proscriptions of the law, or even at times, the literal language of a statute, but may

expand that to consider scenarios not initially contemplated by Congress. Here, that is no great

feat of interpretation. If the courts have seen fit to apply the ADA’s public accommodation

requirement to internet websites that have no real-world connection to physical establishments,

when the statute itself contains no obvious mention of the internet and was passed well before

the internet came of age, Congress never having occasion to consider the explosion of online

shopping that has dramatically shifted the consumer retail market, then a clear line can be drawn

from the third-party interaction necessarily contemplated by Erickson in the context of potential

creditors, who, as third parties, are interpreting credit reports, and credit scoring algorithms

which stand in the shoes of those potential creditors and do the interpretive work for them. This

is much less of an interpretive leap than the ADA cases, and O’Neal’s and Pineda’s decisions

stand in clear opposition to the U.S. Supreme Court’s general guidance on this issue.

    B. DEFENDANT’S PUBLICATION OF THE INACCURATE SELF FINANCIAL
TRADELINE WAS WILLFUL

       Given the obvious inconsistencies in reporting an ongoing 60-day delinquency on an

account that had been closed and fully satisfied with a $0 balance, Defendant Transunion

willfully violated the FCRA. These inconsistencies lead to the only conclusion possible under

the facts as pled (and incorporated): that Transunion did so knowingly and in reckless disregard

of the law.




places (in a spatial sense) for the exchange of views, today the answer is clear. It is cyberspace—
the ‘vast democratic forums of the Internet … .’”).
                                                 19
    Case 2:21-cv-02241-BWA-KWR Document 25 Filed 03/02/22 Page 21 of 25




       Willfulness under the FCRA requires either a knowing violation or reckless disregard of

the law. Bouton v. Ocean Props., No. 16-cv-80502-BLOOM/Valle, 2017 U.S. Dist. LEXIS

174989, at *40 (S.D. Fla. Oct. 23, 2017)(citing Harris v. Mexican Specialty Foods, Inc., 564

F.3d 1301, 1310 (11th Cir. 2009)(citing 15 U.S.C. § 1681n(a))). “Recklessness” generally

requires “action entailing an unjustifiably high risk of harm that is either known or so obvious

that it should be known.” Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 68, 127 S. Ct. 2201, 167 L.

Ed. 2d 1045 (2007)(quotation marks omitted). “Thus, a consumer reporting agency acts in

reckless disregard of FCRA requirements if its ‘action is not only a violation under a reasonable

reading of the statute's terms, but shows that the company ran a risk of violating the law

substantially greater than the risk associated with a reading that was merely careless.’” Williams

v. First Advantage LNS Screening Sols., Inc., 947 F.3d 735, 745 (11th Cir. 2020)(quoting Safeco,

551 U.S. at 69). Recklessness requires conduct that is at least “objectively unreasonable.”

Safeco, 551 U.S. at 68-69. Willfulness is typically understood to be a question of fact for the

jury. Cowley v. Burger King Corp., No. 07-21772-CIV, 2008 U.S. Dist. LEXIS 87852, at *12-

14 (S.D. Fla. May 23, 2008)(citing cases).

       At this early stage in the litigation, without any discovery on Defendant’s policies and

procedures and its practices of following them, the facts allow this court to draw the reasonable

inference that Defendant’s conduct in continuing to publish the inaccurate information was

willful. Other courts examining similar claims have found willfulness at the motion to dismiss

stage based on the absurdity of the proposition that a credit bureau could continue publishing a

tradeline reflecting a current delinquency on an account that had been closed with a $0 balance.

See Friedman, No. 18 CV 11173 (VB), 2019 U.S. Dist. LEXIS 149706 at *9 (relying on the

plaintiff’s allegations that had the defendant furnisher conducted a reasonable investigation, it



                                                 20
    Case 2:21-cv-02241-BWA-KWR Document 25 Filed 03/02/22 Page 22 of 25




would have realized that it was “nonsensical and wrong” to report a tradeline with a $0 balance

that was currently 120 days late, and concluding, “[P]laintiff’s allegations plausibly suggest

CitiMortgage acted in a way that, at the very least, created an unjustifiably high risk of harm that

was either known or so obvious that it should have been known.”); see also Huggins, Civil

Action No. 19-21731 (ES) (CLW), 2020 U.S. Dist. LEXIS 229290 at *20-21 (holding same, and

noting that the credit report itself may be sufficient to put the defendant furnisher on notice that it

was violating the law without controlling caselaw directly on point). Publishing a tradeline

reflecting an ongoing delinquency on an account that has been closed and transferred and has a

$0 balance, something that is completely antithetical to the very nature of accurate reporting,

unquestionably shows willfulness.

       Defendant argues that Plaintiff has brought up no policies or procedures or Defendant’s

practices that would justify a finding of willfulness, see e.g. Williams, 947 F.3d at 745

(discussing willfulness in the context of §1681e(b), requiring consumer reporting agencies to

“…follow reasonable procedures to assure maximum possible accuracy of the information

concerning the individual about whom the report relates.”), but at this early stage of the

litigation, without proper discovery on the issue, Plaintiff would simply be unable to. As one

court explained,

       It is not improper for a plaintiff to rely on the same basic facts to allege alternative claims
       for willful or negligent violations of the same statute. See Levine v. World Fin. Network
       Nat’l Bank, 437 F.3d 1118, 1123 (11th Cir. 2006)(the “FCRA provides for civil liability
       both for willful and negligent noncompliance.’). The degree of knowledge involved in the
       alleged violations is a matter uniquely within the defendant’s possession, and the plaintiff
       may not be capable of any more definite factual assertion prior to discovery.

See Ellis v. Equifax Info. Servs., LLC, No. 1:18-cv-5185-TCB-CMS, 2019 U.S. Dist. LEXIS

184904, at *11-12 (N.D. Ga. June 6, 2019).




                                                  21
    Case 2:21-cv-02241-BWA-KWR Document 25 Filed 03/02/22 Page 23 of 25




       Moreover, as Ellis went on to explain, Plaintiff has gone beyond merely alleging facts

supporting a generalized violation of the statute, but has specifically alleged that Transunion

failed to fix a fairly obvious error in Plaintiff’s credit report that should have been noticed after

conducting a reasonable investigation – facts themselves which support a finding of willfulness.

See Ellis, No. 1:18-cv-5185-TCB-CMS, 2019 U.S. Dist. LEXIS 184904, at *12 (“That is not to

say, however, that the Complaint in this case lacks any factual allegations to support a claim of

willfulness. Here, Plaintiff alleges, albeit in a generalized fashion, that there was a fairly obvious

error on her credit report, and that despite being made aware of the error, Trans Union did not fix

it.”). “These facts go beyond a mere recitation of the elements of the alleged violation and are

sufficient to inform Trans Union of the basis for Plaintiff’s claims.” No. 1:18-cv-5185-TCB-

CMS, 2019 U.S. Dist. LEXIS 184904, at *12.

       Defendant’s arguments point to the reason why courts typically reserve willfulness as a

question of fact for the jury. See Gross v. Advanced Disposal Servs., No. 8:17-cv-1920-T-

36TGW, 2018 U.S. Dist. LEXIS 226038, at *25 (M.D. Fla. Dec. 10, 2018)(“The Court will not

decide [the issue of willfulness under the FCRA] as it is premature. Many cases analyzing this

issue do so on summary judgment by reviewing the evidence regarding the defendant’s research

and interpretation of the FCRA and ultimately have held that the issue is one for the

jury.”)(citing cases); see also Cowley, No. 07-21772-CIV, 2008 U.S. Dist. LEXIS 87852, at *12-

14 (noting same and citing cases).

       Defendant also argues that “[n]either the failure to correct alleged errors after receiving

notification of an alleged inaccuracy in a consumer’s file, nor the mere existence of inaccuracies

in a consumer’s report alone, can amount to willful noncompliance with the FCRA.” See Dkt. #

24, at 21. “That may be. However, courts [] have only so held when deciding motions for



                                                  22
     Case 2:21-cv-02241-BWA-KWR Document 25 Filed 03/02/22 Page 24 of 25




summary judgment or at subsequent stages of litigation.” Friedman, No. 18-cv-11173, 2019

U.S. Dist. LEXIS 149706, 2019 WL 4194350, at *10 (citing cases); see also Gross, No. 8:17-cv-

1920-T-36TGW, 2018 U.S. Dist. LEXIS 226038, at *25 (determining that willfulness is a

question of fact for the jury in the Eleventh Circuit and citing cases); see also Cowley, No. 07-

21772-CIV, 2008 U.S. Dist. LEXIS 87852, at *12-14 (noting same and citing cases).

Accordingly, this argument is without merit.

        V.     CONCLUSION

        For the reasons set forth above, Defendant’s motion to dismiss should be denied in its

entirety.



Dated: March 2, 2022                                 Respectfully Submitted,

                                                     /s/ Yaakov Saks __________
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                                                23
    Case 2:21-cv-02241-BWA-KWR Document 25 Filed 03/02/22 Page 25 of 25




                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 2, 2022, I electronically filed the foregoing with the Clerk

of the Court using CM/ECF. I also certify that the foregoing document is being served this day

on all counsel either via transmission of Notices of Electronic Filing generated by CM/ECF or in

some other authorized manner for those counsel or parties who are not authorized to receive

electronically Notices of Electronic Filing.

                                      /s/ Yaakov Saks ____________
                                      Yaakov Saks, Esq.




                                                24
